             Case 6:20-cv-00916-ADA Document 17 Filed 10/29/20 Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION

WSOU INVESTMENTS, LLC d/b/a
BRAZOS LICENSING AND
DEVELOPMENT,

                 Plaintiff,

        v.                                        CIVIL ACTION NO. 6:20-CV-916-ADA

HUAWEI TECHNOLOGIES CO., LTD.,
AND HUAWEI TECHNOLOGIES
USA INC.

                 Defendants.


                              NOTICE OF APPEARANCE OF COUNSEL

TO THE HONORABLE COURT:

        Defendants hereby notify the Court that J. Mark Mann of Mann | Tindel | Thompson,

300 West Main Street, Henderson, Texas 75652 makes a formal entry of appearance in the

above-styled and numbered cause as counsel for Defendants, Huawei Technologies Co., Ltd.,

and Huawei Technologies USA Inc. The undersigned counsel requests a copy of all pleadings,

discovery, correspondence and orders be sent to him.




Notice of Appearance of Counsel                                                  Page 1 of 2
          Case 6:20-cv-00916-ADA Document 17 Filed 10/29/20 Page 2 of 2




Dated: October 29, 2020                       Respectfully submitted,


                                        By:      /s/ J. Mark Mann
                                              J. Mark Mann
                                              State Bar No. 12926150
                                              Mark@TheMannFirm.com
                                              G. Blake Thompson
                                              State Bar No. 24042033
                                              Blake@TheMannFirm.com
                                              MANN | TINDEL | THOMPSON
                                              300 West Main Street
                                              Henderson, Texas 75652
                                              (903) 657-8540
                                              (903) 657-6003 (fax)

                                              ATTORNEYS FOR DEFENDANTS


                                  CERTIFICATE OF SERVICE

        A true and correct copy of the foregoing instrument was served or delivered

electronically via U.S. District Court [LIVE]- Document Filing System, to all counsel of record,

on this 29th day of October, 2020.


                                                 /s/ J. Mark Mann
                                              J. Mark Mann




Notice of Appearance of Counsel                                                       Page 2 of 2
